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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

DELAWARE DISPLAY GROUP LLC AND )
INNOVATIVE DISPLAY             )
TECHNOLOGIES LLC,              )
                               )
         Plaintiffs,           )
                               )
      v.                       ) Civil Action No. 13-2112-RGA
                               )
VIZIO, INC.,                   )
                               )
         Defendant.            )
                               )

  DEFENDANT VIZIO, INC.’S MOTION TO EXCLUDE EXPERT TESTIMONY OF
  DR. FREDERIC KAHN ON THE ISSUES OF NON-ENABLEMENT AND WRITTEN
                            DESCRIPTION

       Defendant VIZIO, Inc. (“VIZIO”) hereby moves pursuant to Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), Federal Rule of Evidence 702, and 35 U.S.C. § 112,

to exclude Plaintiffs’ technical expert, Dr. Frederic Kahn, on the issues of non-enablement and

written description. The grounds for this motion are set forth in VIZIO’s Combined Opening

Brief in Support of its Motion for Summary Judgment on Non-Enablement and Written

Description and its Motion to Exclude Testimony of Dr. Frederic Kahn on Those Topics, and

exhibits thereto, filed contemporaneously.

       Pursuant to D. Del. LR. 7.1.1, VIZIO certifies that a reasonable effort was made to reach

agreement on the issues set forth in this motion, including a meet and confer involving Delaware

counsel.
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Dated: August 26, 2016




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                                 CERTIFICATE OF SERVICE

         I, Pilar G. Kraman, Esquire, hereby certify that on August 26, 2016, I caused to be

electronically filed a copy of the foregoing document with the Clerk of the Court using CM/ECF,

which will send notification that such filing is available for viewing and downloading to the

following counsel of record:

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         I further certify that on August 26, 2016, I caused a copy of the foregoing document to

be served by e-mail on the above-listed counsel and on the following:

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